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7                       IN FEDERAL DISTRICT COURT FOR THE
8                    WESTERN DISTRICT OF WASHINGTON - SEATTLE
9

10   FORTUNA GEBRU FKADU an
     individual,
11                                                 No. 2:21-cv-318
                         Plaintiff,
12
                        vs.
13                                                COMPLAINT
      KIDANE TESFAY, an individual,
14
                         Defendant.
15

16

17        COMES NOW Plaintiff FORTUNA GEBRU FKADU by and through counsel

18   and alleges the following.

19

20                                    I. INTRODUCTION

21   1.     This is a lawsuit for financial support under the United States Citizenship

22   and Immigration Services (“USCIS”) Form I-864, Affidavit of Support (“Affidavit

23   of Support”).

24   2.     The Affidavit of Support was created by Congress in 1996 to ensure that

25   family-sponsored immigrants are ensured a basic level of financial wellbeing,

26   sufficient to meet the most basic needs of life.

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1    3.    In mandating the Affidavit of Support, Congress required visa petitioners,

2    rather than the American people, serve as a financial safety net to new

3    immigrants.

4    4.    Once executed, the Affidavit of Support is a legally binding contract

5    between a sponsor and the United States government, of which the intending

6    immigrant is a third-party beneficiary.

7    5.    Fortuna Fkadu is a beneficiary of an Affidavit of Support signed by

8    Kidane Tesfay, her former husband.

9    6.    Mr. Tesfay has failed to provide Ms. Fkadu with the basic level of income

10   support promised in the Affidavit of Support. This lawsuit seeks to compel Mr.

11   Tesfay to fulfill the support duty mandated by the Affidavit of Support and

12   associated federal law.

13

14                             II. JURISDICTION AND VENUE

15   7.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as

16   this action arises under the federal Immigration and Nationality Act per 8

17   U.S.C. § 1183a(e)(I).

18   8.    This Court has personal jurisdiction because, on information and belief,

19   Mr. Tesfay resides in this District.

20   9.    Additionally, this Court has personal jurisdiction over Mr. Tesfay as, by

21   signing the Affidavit of Support, Mr. Tesfay submitted to the jurisdiction of any

22   court with subject matter jurisdiction over Ms. Fkadu’s claims. 8 U.S.C. §

23   1183a(a)(1)(C).

24   10.   Venue is proper in this District as a substantial part of the events or

25   omissions giving rise to Ms. Fkadu’s claims occurred in this District. 28 U.S.C. §

26   1391(b)(2).

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1                                       IV. PLAINTIFF

2    9.      Ms. Fkadu is a citizen of the United Kingdom.

3    10.     Ms. Fkadu resides in Seattle, Washington.

4

5                                     V. DEFENDANT

6    11.     Mr. Tesfay is a citizen of the United States of America.

7    12.     As further alleged below, Mr. Tesfay served as Ms. Fkadu’s immigration

8    sponsor by executing an Affidavit of Support, thereby contractually promising to

9    provide a specified level of income to Ms. Fkadu.

10   13.     On information and belief, Mr. Tesfay resides in Renton, Washington.

11

12                            VI. FACTUAL ALLEGATIONS

13   Background concerning the Affidavit of Support.

14   14.     Since 1882 federal law has excluded the immigration of individuals

15   considered “likely to become a public charge.” Act of Aug. 3, 1882, 22 Stat. 214.

16   15.     The current immigration statute, in effect at all times material to the

17   facts alleged herein, forbids the entry of immigrants determined likely to become

18   a “public charge.” 8 U.S.C. § 1182(a)(4).

19   16.     The Affidavit of Support is required for a family-based immigrant visa

20   applicant to overcome public charge inadmissibility. 8 U.S.C. § 1182(a)(4)(C).

21   17.     The only family-based immigrants who are exempt from submitting an

22   Affidavit of Support are those classes listed at 8 C.F.R. § 213a.2(a)(2)(ii), to wit:

23   (A) self-petitioners under the Violence Against Women Act; (B) grandfathered

24   immigrants with petitions pending prior to December 19, 1997; (C) those who

25   have worked and/or may be credited with 40 qualifying quarters of coverage as

26   defined under title II of the Social Security Act; (D) a child admitted under 8

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1    U.S.C. § 1181(a) and 8 C.F.R. § 211.1(b)(1); and (E) a child who will

2    automatically acquire citizenship under 8 U.S.C. § 1431.

3    18.       Prior to October 15, 2019, intending immigrants who qualified for an

4    exemption under 8 C.F.R. § 213a.2(a)(2)(ii) were required to submit a Form I-

5    864W, Request for Exemption for Intending Immigrant’s Affidavit of Support.

6    19.       After October 15, 2019, the exemptions under 8 C.F.R. § 213a.2(a)(2)(ii)

7    continue to apply, but USCIS no longer requires the Form I-864W and collects

8    related information through other, updated forms.

9    20.       Creation of the Affidavit of Support was mandated by Congress to

10   ensure that certain classes of immigrants to the United States would be

11   guaranteed a level of financial support necessary to meet basic human needs. Cf.

12   Liu v. Mund, 686 F.3d 418 (7th Cir. 2012), as amended (July 27, 2012).

13   21.       The Affidavit of Support has been mandatory in all U.S. marriage-based

14   immigrant visa and adjustment of status cases at all times material to the case

15   at bar.

16   22.       The Affidavit of Support is a legally binding contract between the

17   sponsor and the United States Government. 8 U.S.C. § 1182(a)(1)(B).

18   23.       By signing the Affidavit of Support, the sponsor agrees to provide the

19   intending immigrant with any support necessary to maintain her at an income

20   that is at least 125 percent of the Federal Poverty Guidelines (“FPG” or “poverty

21   line”) for her household size. 8 U.S.C. § 1182(a)(1)(A).

22   24.       The FPG are published annually in the Federal Register, which

23   published numbers govern the damage claims asserted herein.

24   25.       In any given year for which a sponsored immigrant is entitled to support

25   under the Affidavit of Support, she is entitled to support based the FPG in effect

26   for that year as to U.S. state of residency.

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1    26.     The Affidavit of Support obligation may be enforced by the immigrant

2    beneficiary, who is a third-party beneficiary thereof. 8 U.S.C. § 1182(a)(1)(B); 8

3    C.F.R. § 213a.2(d).

4    27.     Under federal regulations, a sponsored immigrant is not required to

5    make any demand for payment from a sponsor prior to commencing a lawsuit to

6    enforce the sponsorship obligation under the Affidavit of Support. 8 C.F.R. §

7    213a.4(a)(2).

8    28.     By signing the Affidavit of Support, the sponsor agrees to submit to the

9    personal jurisdiction of any federal or state court that has subject matter

10   jurisdiction over a lawsuit against the sponsor to enforce obligations under the

11   Affidavit of Support. 8 U.S.C. § 1183a(a)(1)(C).

12   29.     By signing the Affidavit of Support, the sponsor certifies under penalty

13   of perjury that the sponsor has read and understands each part of the

14   obligations described in the Affidavit of Support and agrees freely and without

15   any mental reservation or purpose of evasion to accept ach of those obligations in

16   order to make it possible for the immigrant(s) listed in the Affidavit of Support

17   to become lawful permanent residents of the United States.

18   30.     The Affidavit of Support sponsor also agrees to notify the Government of

19   any change in the sponsor’s address within 30 days of the change by filing a

20   Form I-865. See 8 U.S.C. § 1183a(d).

21   31.     A sponsor’s duties under the Affidavit of Support commence when the

22   sponsored immigrant becomes a Resident based on the Affidavit of Support.

23   32.     An Affidavit of Support sponsor must continue to perform under the

24   contract until the occurrence of one of five events (collectively “the Terminating

25   Events”) set forth in the contract.

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1    33.     The sponsor’s obligation under the Affidavit of Support conclude once

2    the sponsored immigrant becomes a U.S. citizen (the “First Terminating Event”).

3    8 C.F.R. § 213a.2(e)(2)(i)(A).

4    34.     The sponsor’s obligation under the Affidavit of Support concludes once

5    the sponsored immigrant has worked or can receive credit for 40 quarters of

6    work under the Social Security Act (the “Second Terminating Event”). 8 U.S.C. §

7    1183a(a)(3)(A); 8 C.F.R. § 213a.2(e)(2)(i)(B).

8    35.     For purpose of the Second Terminating Event, a sponsored immigrant’s

9    quarters of work are as shown on her current U.S. Social Security

10   Administration Social Security Earnings Statement.

11   36.     The sponsor’s obligation under the Affidavit of Support concludes once

12   the sponsored immigrant is no longer a permanent resident and has departed

13   the U.S. (the “Third Terminating Event”). 8 C.F.R. § 213a.2(e)(2)(i)(C).

14   37.     The sponsor’s obligation under the Affidavit of Support concludes once

15   the sponsored immigrant is subject to an order of removal but applies for and

16   obtains in removal proceedings a new grant of adjustment of status based on a

17   new affidavit of support, if required (the “Forth Terminating Event”). 8 C.F.R. §

18   213a.2(e)(2)(i)(D).

19   38.     The sponsor’s obligation under the Affidavit of Support concludes once

20   the sponsored immigrant dies (the “Fifth Terminating Event”). 8 C.F.R. §

21   213a.2(e)(2)(i)(E).

22   39.     In order to serve as a sole Affidavit of Support sponsor, an individual

23   must demonstrate income at our above 125% of the poverty line for the

24   individual’s household size. 8 U.S.C. § 1183a(f)(1)(E).

25   40.     If the income of the visa petitioner is below 125% of the poverty line, the

26   individual may demonstrate that he or she owns assets equal to at least five

27   times the income shortfall (or three times in the case of marriage-based case).


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1    Such assets must be convertible to U.S. cash within 12 months. 8 U.S.C. §

2    1183a(f)(6)(A)(ii).

3    41.     An immigration petitioner who lacks income and assets sufficient to

4    serve as a sole Affidavit of Support sponsor may obtain the assistance of an

5    additional individual who agrees to serve as a “joint sponsor” by executing and

6    filing an additional Affidavit of Support. 8 U.S.C. § 1183a(f)(5)(A).

7    42.     An Affidavit of Support is considered executed once it is signed and

8    submitted to either USCIS or the Department of State in support of an intending

9    immigrant’s application. 8 C.F.R. § 213a.2(a)(B)(ii).

10   43.     Once executed, the Affidavit of Support becomes a binding contract

11   between the sponsor and the United States government for the benefit of the

12   sponsored immigrant. 8 C.F.R. § 213a.2(d).

13   44.     A sponsor’s support obligation under the Affidavit of Support commences

14   when an intending immigrant obtains Resident status on the basis of an

15   application that included the sponsor’s Affidavit of Support. 8 C.F.R. §

16   213a.2(e)(1).

17

18   Ms. Fkadu’s immigration to the United States.

19   45.     Mr. Tesfay is a citizen of the United States of America.

20   46.     Ms. Fkadu is a citizen of the United Kingdom.

21   47.     Ms. Fkadu and Mr. Tesfay were married on April 26, 2018.

22   48.     Mr. Tesfay thereafter commenced the process of petitioning for Ms.

23   Fkadu’s acquisition of Resident status.

24   49.     On information and belief, Mr. Tesfay signed and caused to be filed with

25   USCIS a Form I-130, Petition for Alien Relative (the “Visa Petition”).

26   50.     On information and belief, the Visa Petition listed Ms. Fkadu as the

27   intending immigrant beneficiary of the petition.


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1    51.     By filing the Visa Petition, Mr. Tesfay had initiated the process of

2    securing United States immigration status for Ms. Fkadu.

3    52.     Mr. Tesfay’s purpose in filing the Visa Petition was to ultimately secure

4    Resident status for Ms. Fkadu.

5    53.      Ms. Fkadu filed a Form I-485, Application to Register Permanent

6    Residence of Adjustment Status (the “Residency Application”) with USCIS.

7    54.     On information and belief, under the “Application Type or Filing

8    Category,” Ms. Fkadu indicated that the Residency Application was a family-

9    based type as an immediate relative of a U.S. Citizen.

10   55.     Ms. Fkadu’s Residency Application was based on Defendant’s Visa

11   Petition as but for Mr. Tesfay’s petition, Ms. Fkadu would not have qualified to

12   file the Residency Application based on the class of admission listed therein.

13   56.     Ms. Fkadu qualified for none of Affidavit of Support exemptions

14   specified at 8 C.F.R. § 213a.2(a)(2)(ii).

15   57.     On information and belief, Mr. Tesfay signed an Affidavit of Support,

16   listing Ms. Fkadu as the intending immigrant beneficiary.

17   58.     On information and belief, Mr. Tesfay caused the Affidavit of Support to

18   be filed with USCIS in support of Ms. Fkadu’s Residency Application.

19   59.     Once Mr. Tesfay’s Affidavit of Support was filed with USCIS it was

20   executed. 8 C.F.R. § 213a.2(a)(B)(ii).

21   60.     On information and belief, in support of the Affidavit of Support, Mr.

22   Tesfay filed proof of income in the form of documentation of federal income tax

23   filings with the Internal Revenue Service.

24   61.     USCIS approved Mr. Tesfay’s Visa Petition.

25   62.     USCIS approved Ms. Fkadu’s Residency Application.

26   63.     Ms. Fkadu was granted status as a conditional lawful permanent

27   resident on April 3, 2018.


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1    64.        USCIS issued Ms. Fkadu a Form I-551 residency card as a category CR6

2    immigrant, to wit, one who had adjusted status to conditional lawful permanent

3    resident on the basis of a petition filed by a U.S. citizen spouse. See Exhibit 1.

4

5    Mr. Tesfay’s breach of contract.

6    65.        Mr. Tesfay’s duties under the Affidavit of Support commenced on April

7    3, 2018.

8    66.        Ms. Fkadu’s Resident status was based on Affidavit of Support signed by

9    Mr. Tesfay.

10   67.        Ms. Fkadu’s Resident status was based on the Affidavit of Support

11   because but for the fact that Mr. Tesfay submitted that Form, the Government

12   would not have granted CR6 conditional resident status to Ms. Fkadu.

13   68.        Because Mr. Tesfay’s Affidavit of Support was executed it is an

14   enforceable contract. 8 C.F.R. § 213a.2(d).

15   69.        With respect to Defendant’s sponsorship obligation, Ms. Fkadu’s

16   “income” means Ms. Fkadu’s total income (or adjusted gross income for any

17   years Ms. Fkadu filed an IRS Form 1040EZ) for purposes of her U.S. Federal

18   income tax liability. 8 C.F.R. § 213a.1. This includes liability on a joint income

19   tax return. Id.

20   70.        In the year 2020, Ms. Fkadu’s income was $4,692, as shown by her

21   Social Security Administration Earnings Record, subjoined as Exhibit 2.

22   71.        Ms. Fkadu’s Social Security Administration Earnings Record, Exhibit 2,

23   reflects her taxable “income” for that year as defined by 8 C.F.R. § 213a.1.

24   72.        Ms. Fkadu had a household size of one for the year 2020.

25   73.        125% of the poverty guidelines for a household of one in 2020 was

26   $15,950.

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1    74.       Mr. Tesfay has failed to provide Ms. Fkadu with income for the year

2    2020 that would have brought her income up to 125% of the federal poverty

3    guideline.

4

5    Facts concerning Terminating Events.

6    75.       No event has occurred that would constitute a Terminating Event under

7    the Affidavit of Support.

8    76.       The parties were divorced on December 10, 2019.

9    77.       Divorce is not a Terminating Event for Mr. Tesfay’s obligations under

10   the Affidavit of Support.

11   78.       First Terminating Event has not occurred because Ms. Fkadu has not

12   become a U.S. citizen.

13   79.       The Second Terminating Event has not occurred because Ms. Fkadu has

14   neither worked nor can receive credit for 40 quarters of work under the Social

15   Security Act.

16   80.       The Third Terminating Event has not occurred because Ms. Fkadu has

17   not both lost status as a permanent resident and departed from the U.S.

18   81.       The Forth Terminating Event has not occurred because Ms. Fkadu is not

19   both subject to an order of removal and has also applied for and obtained in

20   removal proceedings a new grant of adjustment of status based on a new

21   affidavit of support (if required).

22   82.       The Fifth Terminating Event has not occurred because Ms. Fkadu is

23   alive.

24   83.       Mr. Tesfay’s duties under the Affidavit of Support remain in effect.

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1                               VII. CLAIMS FOR RELIEF

2    1 – Breach of contract.

3    84.     Plaintiff realleges and incorporates all paragraphs above as though fully

4    stated herein.

5    85.     By signing the Affidavit of Support and causing it to be filed in support

6    of Ms. Fkadu’s residency application, Mr. Tesfay executed an Affidavit of

7    Support.

8    86.     Once executed, the Affidavit of Support became a binding contract

9    between Mr. Tesfay and the United States Government.

10   87.     Ms. Fkadu is a third-party beneficiary of the Affidavit of Support.

11   88.     Ms. Fkadu has standing as third-party to enforce the financial support

12   rights under the Affidavit of Support.

13   89.     Under the express terms of the Affidavit of Support, Mr. Tesfay agreed

14   to provide Ms. Fkadu with any support necessary to maintain Ms. Fkadu’s

15   income at a level that is at least 125 percent of the Federal Poverty Guidelines

16   for Ms. Fkadu’s household size.

17   90.     Mr. Tesfay’s responsibility to provide income support commenced on

18   April 3, 2018 when Ms. Fkadu became a Resident of the United States.

19   91.     All conditions precedent to Mr. Tesfay’s duty to perform on the Affidavit

20   of Support were fulfilled as of April 3, 2018.

21   92.     Mr. Tesfay has breached the Affidavit of Support by failing to provide

22   income support to Ms. Fkadu.

23   93.     As a result of Mr. Tesfay’s breach, Ms. Fkadu has suffered damages in

24   an amount to be determined at trial.

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1                            VIII. REQUEST FOR RELIEF

2    Plaintiff requests the following relief from the Court:

3    A.    Entry of judgment against Mr. Tesfay and in favor of Ms. Fkadu each and

4    every cause of action asserted herein;

5    B.    An award of actual damages for the year 2020 in the amount of $11,258;

6    C.    An award of actual damages in an amount equivalent to 125% of the

7    Federal Poverty Guideline for a household size of one for the period from

8    January 1, 2021 to the date on which judgment issues, less any income earned

9    by My. Fkadu during that period;

10   D.    A declaration that Ms. Fkadu is entitled to continued receipt of financial

11   support from Mr. Tesfay in the amount of 125% the Federal Poverty Guidelines

12   for Ms. Fkadu’s household size, less actual income, until the occurrence of one of

13   the Terminating Events.

14   E.    An order of specific performance, requiring Mr. Tesfay to make monthly

15   payments to Ms. Fkadu for the amount set forth in Paragraph D above, until

16   such time as a Terminating Event occurs, and that such payments shall be

17   completed no later than the fifth calendar day of each month to the client trust

18   account of Ms. Fkadu’s undersigned attorney;

19   F.    An award of all Ms. Fkadu’s attorney fees;

20   G.    An award of all Ms. Fkadu’s costs;

21   H.    The right to amend this complaint to conform to the evidence presented at

22   trial; and

23   I.    Such other and further relief in Ms. Fkadu’s favor as the Court may deem

24   just and equitable under the circumstances.

25                [The remainder of this page is intentionally left blank]

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1    DATED: March 9, 2021,

2
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